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   1
       Michael J. Bowe
   2   (admitted pro hac vice)
       mbowe@brownrudnick.com
   3   Lauren Tabaksblat
       (admitted pro hac vice)
   4   ltabaksblat@brownrudnick.com
       BROWN RUDNICK LLP
   5   7 Times Square
       New York, NY 10036
   6   Telephone: (212) 209-4800
       Facsimile: (212) 209-4801
   7
       Attorneys for Plaintiff
   8
        Drew Tulumello (#196484)
   9    drew.tulumello@weil.com
        WEIL, GOTSHAL & MANGES LLP
  10    2001 M Street NW, Suite 600
        Washington, DC 20036
  11    Tel: 202 682 7000
        Fax: 202 857 0940
  12
       Attorney for Defendant Visa, Inc.
  13
       (Additional Attorneys Listed on Signature Page)
  14
                             UNITED STATES DISTRICT COURT
  15                        CENTRAL DISTRICT OF CALIFORNIA
  16                              SOUTHERN DIVISION

  17 SERENA FLEITES,                          CASE NO. 2:21-CV-04920-CJC-ADS
              Plaintiff,                      Judicial Officer: Cormac J. Carney
  18                                          Courtroom:        9B
  19         v.                               DISCOVERY DOCUMENT:
                                              REFERRED TO MAGISTRATE
  20 MINDGEEK   S.A.R.L.; MG
     FREESITES, LTD; MINDGEEK
                                              JUDGE AUTUMN D. SPAETH

  21 USA  INCORPORATED; MG
     PREMIUM LTD.; MG GLOBAL
                                             JOINT NOTICE OF (1) MOTION BY
                                             PLAINTIFF TO COMPEL
  22 ENTERTAINMENT     INC.; 9219-
     1568 QUEBEC, INC.; BERND
                                             DEFENDANT VISA, INC’S RESPONSE
                                             TO PLAINTIFF’S FIRST REQUEST
  23 BERGMAIR;  FERAS ANTOON;
     DAVID TASSILLO; COREY
                                             FOR PRODUCTION OF DOCUMENTS
                                             AND (2) MOTION BY VISA, INC FOR
  24 URMAN;  VISA INC.; COLBECK
     CAPITAL DOES 1-5;
                                             PROTECTIVE ORDER
                                             Date: November 9, 2022
  25 BERGMAIR DOES 1-5                       Time: 10:00 a.m.
               Defendants.                   Courtroom: 6B
  26                                         Discovery Cutoff: April 6, 2023
  27                                         Pretrial Conference: August 7, 2023
                                             Trial: August 15, 2023
  28
                                                               CASE NO. 21-CV-04920-CJC-ADS
       JOINT NOTICE OF (1) MOTION BY PLAINTIFF TO COMPEL DEFENDANT VISA’S RESPONSE TO
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   1         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2         PLEASE TAKE NOTICE that on November 9, 2022, at 10:00 a.m., or as
   3 soon thereafter as the matter may be heard, in the courtroom of the Honorable Autumn
   4 D. Spaeth, located at the Ronald Reagan Federal Building and United States
   5 Courthouse, Courtroom 6B, 411 West Fourth Street, Santa Ana, CA 92701, Plaintiff
   6 Serena Fleites, by and through her counsel of record, will move the Court for an order
   7 compelling Defendant Visa to respond to discovery and produce documents pursuant
   8 to Rule 34 of the Federal Rules of Civil Procedure and Defendant Visa, Inc. will move
   9 the court for a protective order relieving Visa from the obligation to respond to
  10 discovery served by Plaintiff Serena Fleites.
  11         This motion is brought pursuant to Federal Rules of Civil Procedure 26, 34,
  12 and 37; U.S. District Court for the Central District of California Civil Local Rule 37-
  13 2, and United States Magistrate Judge Autumn D. Spaeth’s July 2018 Standing Orders
  14 on Discovery Disputes.
  15         In accordance with L.R. 7-3 and 37-1, counsel for Plaintiff and Defendants
  16 conferred telephonically on September 27, 2022 and via email September 28, 2022
  17 prior to the filing of this motion.
  18         This motion is based upon this Notice, the Parties’ Joint Stipulation regarding
  19 this discovery dispute, the pleadings and papers on file in this action, and on such
  20 other evidence as may be submitted to the Court. A proposed order accompanies this
  21 application.
  22
  23 DATED: October 7, 2022
  24
  25 BY: /s/ Michael J. Bowe                         BY: /s/ Drew Tulumello
  26 MICHAEL    J. BOWE (pro hac vice)
     mbowe@brownrudnick.com
                                                     DREW TULUMELLO (#196484)
                                                     drew.tulumello@weil.com
  27 BROWN    RUDNICK LLP
     7 Times Square
                                                     WEIL, GOTSHAL & MANGES LLP
                                                     2001 M Street NW, Suite 600
  28
                                                               CASE NO. 21-CV-04920-CJC-ADS
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   1 New York, NY 10036                            Washington, DC 20036
     Phone: (212) 209-4800                         Tel: 202 682 7000
   2 Fax: (212) 209-4801                           Fax: 202 857 0940
   3
   4 David M. Stein (#198256)                      Attorney for Defendant Visa, Inc.
     dstein@brownrudnick.com
   5 BROWN RUDNICK LLP
     2211 Michelson Drive, 7th Floor
   6 Irvine, California 92612
     Telephone: (949) 752-7100
   7 Facsimile: (949) 252-1514
   8
       Attorneys for Plaintiffs                    .
   9
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   1                                JOINT STIPULATION
   2         Pursuant to Federal Rule of Civil Procedure (“Rule”) 37, U.S. District Court
   3 for the Central District of California Civil Local Rule (“L.R.”) 37-2, and United States
   4 Magistrate Judge Autumn D. Spaeth’s July 2018 Standing Orders on Discovery
   5 Disputes, and following counsel’s meet and confer efforts, Plaintiff and Defendant
   6 Visa, Inc. (“Visa”) respectfully submit the following Joint Stipulation in support of
   7 Plaintiff Serena Fleites’ Motion to Compel Defendant Visa’s Response to Plaintiff’s
   8 First Request for Production of Documents and Defendant Visa’s Motion for a
   9 Protective Order. The parties’ competing motions relate to the same discovery
  10 requests. In accordance with L.R. 7-3 and 37-1, counsel for Plaintiff and Visa
  11 conferred telephonically on September 27, 2022 and via email on September 28,
  12 2022, prior to the filing of this motion.
  13 I.      THE PARTIES’ PRELIMINARY STATEMENTS
  14         A.    Plaintiff’s Preliminary Statement
  15         On August 15, 2023, this case will be tried by a jury. (Dkt. 173) In furtherance
  16 thereof, this Court established an expedited discovery timeline, ordering that “[a]ll
  17 discovery, including discovery motions, shall be completed by April 6, 2023.” Id. In
  18 turn, Plaintiff served Defendant Visa with her First Request for Production of
  19 Documents (RFPs) on September 7, 2022. (Exhibit 6, Plaintiff’s RFPs.) Defendant
  20 Visa refuses to respond to this request, arguing instead that the Court’s prior
  21 jurisdictional discovery order (Dkt. 167) and scheduling request order (Dkt. 168)
  22 excludes them from the current discovery obligations. (See Exhibit 5, Defendant’s
  23 September 16, 2022 letter response to Plaintiff’s RFPs) Plaintiff believes that the
  24 Court's subsequent August 11, 2022 order, setting a trial date and completion date for
  25 all discovery, requires the parties, including Defendant Visa, to complete all discovery
  26 prior to April 2023. Accordingly, Plaintiff seeks an order compelling Defendant Visa
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                                                               CASE NO. 21-CV-04920-CJC-ADS
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       PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS AND (2) MOTION BY VISA FOR
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   1 to respond to Plaintiff’s requests and produce documents in accordance with Federal
   2 Rules of Civil Procedure 26 and 34.
   3          B.     Defendant’s Preliminary Statement
   4          Plaintiff is seeking discovery that the District Court expressly prohibited. In
   5 three orders issued on July 29, 2022, this Court ruled that Plaintiff may take
   6 jurisdictional discovery against the MindGeek Defendants, but that Plaintiff may not
   7 proceed with discovery against Visa until after an amended complaint has been filed.
   8 See Exhibit 3, Dkt. 168 at 1 (instructing Plaintiff she cannot proceed with discovery
   9 from Visa because, “as the Court’s order at Dkt. 166 made clear, the remaining claims
  10 against Visa are uncertain.”). The Court entered these orders and referred the matter
  11 to Magistrate Spaeth “for the jurisdictional discovery period.” Exhibit 2, Dkt. 167 at
  12 8.     The jurisdictional discovery period involving Plaintiff and the MindGeek
  13 Defendants is set to run until December 30, 2022. See Exhibit 2, Dkt. 167. 1
  14          Those specific and unequivocal orders were not overturned or superseded by
  15 the generic scheduling order issued by the Court on August 11, 2022. Yet Plaintiff
  16 contends that the issuance of the scheduling order means that all discovery—both
  17 merits and jurisdictional—may proceed against Visa, even though the District Court
  18 repeatedly and expressly limited discovery to the MindGeek defendants and to
  19 jurisdictional issues only. Plaintiff’s effort to obtain discovery from Visa at this time
  20 is precluded by clear and binding orders of this Court. Visa therefore seeks to enforce
  21 those orders by entry of a protective order (and denial of Plaintiff’s motion to compel).
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       1
  26    As referenced herein, the term “MindGeek Defendants” refers to the following parties: MindGeek
       S.A.R.L., MG Freesites Ltd., MindGeek USA Inc., MG Premium Ltd., MG Global Entertainment
  27   Inc., 9219-1568 Quebec, Inc., Bernd Bergmair, Feras Antoon, Davis Tassillo, and Corey Urman,
       collectively.
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                                                2              CASE NO. 21-CV-04920-CJC-ADS
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   1 II.     THE PARTIES’ POSITIONS
   2         A.     Plaintiff’s Position
   3         Despite this Court’s August 11, 2022 order setting a trial date and mandating
   4 that all discovery be completed by April 6, 2023, Defendant Visa has refused to
   5 respond to Plaintiff’s RFPs, on the grounds that the Court’s July 29, 2022 orders
   6 (Dkts. 167 and 168) only authorized limited discovery concerning the MindGeek
   7 entities’ and individuals’ jurisdictional contacts. Plaintiff's position is that the Court's
   8 subsequent August 11, 2022 order, setting a trial date and completion date for all
   9 discovery, superseded the July 29, 2022 scheduling order (Dkt. 168) and requires the
  10 parties to complete all discovery prior to April 2023.
  11         On May 23, 2022, Defendant Visa, along with the other defendants, moved to
  12 dismiss Plaintiff's amended complaint. (Dkt. 138-1.) On July 29, 2022 the Court
  13 granted in part and denied in part Visa's motion (Dkt. 166) and further denied the
  14 remainder of the defendants’ motions. The Court issued a companion order directing
  15 the parties to proceed with discovery concerning the jurisdictional contacts of the
  16 MindGeek entities and individuals, and ordered that all jurisdictional discovery be
  17 completed by year-end. (Dkt. 167) That same day, the Court also denied Plaintiff's
  18 request for entry of a scheduling order. (Dkt. 168) On August 11, 2022, however,
  19 the Court issued a subsequent order (the “August 11 Order”) setting a trial date and
  20 directing that all discovery, including expert discovery, be completed by April 6,
  21 2023. (Dkt. 173)
  22         Consistent with the August 11 Order, Plaintiff served Defendant Visa with her
  23 RFPs on September 7, 2022. (Exhibit 6, Plaintiff’s RFPs.) In response, Defendant
  24 Visa has asserted that “the RFPs are premature and do not require a response from
  25 Visa” because “discovery is authorized as to the MindGeek Defendants only, and the
  26 RFPs to Visa are not addressed to jurisdictional issues in any event.” (See Exhibit 5,
  27 Defendant’s September 16, 2022 letter response to Plaintiff’s RFPs)
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                                                3              CASE NO. 21-CV-04920-CJC-ADS
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   1         This Court has broad discretion to permit or deny discovery. Hallett v. Morgan,
   2 296 F.3d 732, 751 (9th Cir. 2002). It is also “in the best position to interpret its own
   3 orders.” See id. at 739-40 (giving deference to lower court’s interpretation of its own
   4 order). And it has broad discretion to amend prior rulings. See United States v. Smith,
   5 389 F.3d 944, 948 (9th Cir. 2004) (“a district court may reconsider its prior rulings so
   6 long as it retains jurisdiction over the case.”).
   7         Here, the Court’s August 11, 2022 order, issued two weeks after the July 29,
   8 2022 order, directed all parties to complete all discovery, and did not limit that
   9 discovery to particular defendants or subject matters. If Plaintiff is precluded from
  10 pursuing discovery expeditiously and immediately from all defendants at this
  11 juncture, it will be nearly impossible to complete discovery within the Court's
  12 timeline.
  13         Visa argues that Plaintiff’s interpretation of the August 11 Order is inconsistent
  14 with the July 29 Order. However, the Court’s decision denying Visa’s motion to
  15 dismiss found that Plaintiff had stated a valid conspiracy claim against Visa for
  16 conspiring with MindGeek to violate section 1591(a)(2)(Dkt. 166 at 17), and the
  17 scope of discovery against Visa will not be altered based on the results of the
  18 jurisdictional discovery. Accordingly, Plaintiff requests that Defendant Visa be
  19 ordered to respond to her requests for production of documents.
  20         B.     Defendant’s Position
  21         Visa seeks the protection of this Court from premature and unauthorized
  22 discovery from the Plaintiff. The District Court plainly and unequivocally provided
  23 for a jurisdictional discovery period to be followed by the filing of an amended
  24 complaint. The jurisdictional discovery period is set to run through December 30,
  25 2022. Plaintiff seeks to throw that structure out the window by seeking full-blown
  26 merits discovery from Visa now.
  27
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   1         Visa’s position is supported by three specific orders entered by the District
   2 Court. In the first order, dated July 29, 2022, the Court granted in part and denied in
   3 part Visa’s motion to dismiss, and provided Plaintiff permission to amend her
   4 complaint following jurisdictional discovery against the MindGeek Defendants. See
   5 Exhibit 1, Dkt. 166 at 33 (“Plaintiff shall withhold any amendment [to the complaint]
   6 until after the parties have completed jurisdictional discovery.”).
   7         The second order, dated July 29, 2022, directed Plaintiff and the MindGeek
   8 Defendants to engage in the specified jurisdictional discovery and referred discovery
   9 matters to this Court “for the jurisdictional discovery period.” Exhibit 2, Dkt. 167.
  10
             In the third order, dated July 29, 2022, the Court made clear that Plaintiff
  11
       could not seek any discovery from Visa before an amended complaint is filed.
  12
       Exhibit 3, Dkt. 168 (“Discovery Order”). This Court reasoned that “the remaining
  13
       claims against Visa are uncertain” and allowing discovery from Visa “would be
  14
       inefficient case management” and “lead to duplication of effort, unnecessary
  15
       discovery, and undue burden on the Court and the parties.” Id. at 1-2. As of this
  16
       date, no amended complaint has been filed.
  17
  18         On August 11, 2022, the Court issued a routine scheduling order setting forth

  19 various deadlines, as well as a pretrial conference and trial date (“Scheduling Order”).
  20 Exhibit 4, Dkt. 173. The Scheduling Order did not rescind or overrule (or, indeed,
  21 mention) any of the Court’s previous orders, including the Discovery Order expressly
  22 precluding Plaintiff from seeking discovery from Visa until after the amended
  23 complaint has been filed. Nevertheless, on September 7, 2022, Plaintiff served
  24 Requests for Production of Documents on Visa via email.
  25         Plaintiff should not be permitted to take discovery from Visa at this time. The
  26 Court’s June 29, 2022 orders make clear that any discovery from Visa before an
  27 amended complaint is filed is prohibited and would be “inefficient” and lead to
  28
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   1 “duplication of efforts” because “the scope of claims against Visa remains unclear.”
   2 See Exhibit 3, Dkt. 168.
   3         Plaintiff’s claim that she is permitted to seek discovery from Visa because the
   4 Court’s Scheduling Order provided a cutoff date for all discovery does not
   5 overcome the clarity of the Discovery Order and other orders entered on July 29,
   6 2022. Courts recognize that where previous orders are not contradicted by
   7 subsequent orders, the previous order is incorporated by reference. See Wood v.
   8 Scottsdale Indem. Co., No. CV 08-03335 NJV, 2010 WL 3743868, at *1 (N.D. Cal.
   9 Sept. 20, 2010), aff’d on other grounds, 467 F. App’x 653 (9th Cir. 2012) (finding
  10 where there is no contradiction between the court’s two orders on the parties’
  11 motions for summary judgment, the first order is incorporated by reference into the
  12 second). Here, there is no indication that the Scheduling Order contradicts the
  13 Discovery Order. The Scheduling Order does not reference the Discovery Order,
  14 nor does it address the specific instructions within it.
  15
            Furthermore, the Court’s Scheduling Order provides general provisions
  16
     whereas the provisions in the Discovery Order are specific. Other district courts
  17
     have found that when two orders are proceeding together, specific provisions should
  18
     control general provisions. See Kaplan v. Regions Bank, No. 08-2422, 2010 WL
  19
     3862599, at *4 (W.D. Tenn. Sept. 27, 2010); In re Winkle, 128 B.R. 529, 534
  20
     (Bankr. S.D. Ohio 1991). The Discovery Order explicitly instructed Plaintiff that
  21
     she could not seek discovery from Visa until jurisdictional discovery is complete
  22
     and an amended complaint was filed. Exhibit 3, Dkt. 168. The Court reasoned that
  23
     while “Plaintiff might argue that she should be able to proceed with discovery with
  24
     respect to Visa,” she cannot because “the remaining claims against Visa are
  25
     uncertain.” Id. at 1. The Scheduling Order does not change that reasoning or the
  26
     conclusion that discovery against Visa is precluded until an amended complaint is
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     filed.
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                                                6                CASE NO. 21-CV-04920-CJC-ADS
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  1         Finally, Plaintiff has offered no basis for the Court to reconsider its July 29
  2 orders. Cf. Local Rule 7-18. The Court found that “it would be inefficient case
  3 management” to allow Plaintiff to seek discovery from Visa because “[s]uch dual
  4 tracking would lead to duplication of effort, unnecessary discovery, and undue
  5 burden on the Court and the parties.” Exhibit 3, Dkt. 168 at 1-2. Nothing transpired
  6 since the Discovery Order to change those conclusions. There has been no change
  7 in fact or law that would warrant revisiting the Court’s determination that discovery
  8 from Visa should be precluded until after an amended complaint has been filed.
  9         The District Court’s discovery orders set up a clear case management plan, with
 10 the Plaintiff and MindGeek engaged in jurisdictional discovery for the jurisdictional
 11 discovery period, which runs through December 30, 2022. Exhibit 2, Dkt. 167.
 12 Plaintiff’s proposal would disrupt that plan. Plaintiff’s position is foreclosed by the
 13 Court’s rulings and Visa is entitled to a protective order.
 14 III.    CONCLUSION
 15         A.    Plaintiff’s Conclusion
 16         For the foregoing reasons, Plaintiff respectfully requests that the Court grant
 17 this Motion in full, and order Defendant Visa to respond to Plaintiff’s discovery
 18 request.
 19         B.    Defendant’s Conclusion
 20         Visa respectfully requests this Court grant its Motion for a Protective Order.
 21
 22 DATED: October 7, 2022                   BROWN RUDNICK LLP
 23
 24                                           By: /s/ Michael J. Bowe
                                              MICHAEL J. BOWE (pro hac vice)
 25
                                              mbowe@brownrudnick.com
 26                                           7 Times Square
                                              New York, NY 10036
 27
                                              Phone: (212) 209-4800
 28
                                               7              CASE NO. 21-CV-04920-CJC-ADS
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  1                                           Fax: (212) 209-4801
  2
                                              David M. Stein (#198256)
  3                                           dstein@brownrudnick.com
  4                                           BROWN RUDNICK LLP
                                              2211 Michelson Drive, 7th Floor
  5                                           Irvine, California 92612
  6                                           Telephone: (949) 752-7100
                                              Facsimile: (949) 252-1514
  7
  8                                           Attorneys for Plaintiffs

  9
      DATED: October 7, 2022                 WEIL, GOTSHAL & MANGES LLP
 10
 11                                           By: /s/ Drew Tulumello
 12                                           DREW TULUMELLO (#196484)
                                              Drew.tulumello@weil.com
 13                                           2001 M Street NW, Suite 600
 14                                           Washington, DC 20036
                                              Tel: 202 682 7000
 15                                           Fax: 202 857 0940
 16
                                              Attorney for Defendant Visa Inc.
 17
 18              ATTESTATION PURSUANT TO LOCAL RULE 5-4.3.4
 19        I, Drew Tulumello, am the ECF user whose ID and password were used to file
 20 the foregoing. Pursuant to L.R. 5-4.3.4(a)(2), I hereby attest that all other signatories
 21 listed, and on whose behalf the filing is submitted, concur in the filing’s content and
 22 have authorized the filing.
 23                                          /s/ Drew Tulumello
 24                                          DREW TULUMELLO (#196484)
 25
 26
 27
 28
                                               8              CASE NO. 21-CV-04920-CJC-ADS
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